
PER CURIAM.*
Conditional admission granted. Upon being sworn in, applicant will be permitted to practice law on a conditional basis, subject to his fulfilling the following conditions:
1. The applicant’s license to practice law shall be a conditional one for a period of two years.
2. During this two year period, the applicant shall:
(a) enter into a recovery contract with the Lawyer’s Assistance Program, Inc. for a period of two years;
(b) be monitored by a member of the Committee of Alcohol and Drug Abuse;
(c) be required to comply with such additional conditions as may be imposed on him by the appointed monitor.
3. The applicant shall be responsible for such reasonable costs as are appropriately imposed by the Lawyer’s Assistance Program, Inc., Committee of Alcohol and Drug Abuse, and/or the appointed monitor.
4. A failure to observe the conditions, or a finding of probable cause regarding impermissible conduct during the two year period may terminate the conditional right to practice law and subject the applicant to all available grievance procedures under the Rules of the Disciplinary Board.
5. If circumstances warrant, the two year conditional probation may be extended by this court.
6. If the applicant relocates outside the State of Louisiana during the two year probationary period, the applicant’s license to practice law in Louisiana shall be terminated and may only be reinstated upon full compliance with the rules and regulations governing admission to the Louisiana Bar.

 Victory, L, not on panel. Rule IV, Part 2, § 3.

